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                                                 UNITED STATES DISTRICT COURT
                                              FOR THE NORTHERN DISTRICT OF TEXAS
                                                        DALLAS DIVISION


SEBASTIAN MADERO
Plaintiff
                                                                                            CIVIL ACTION NO. 3:21-cv-1365-N
VS.

SUSQUEHANNA SALT LAKE, LLC
Defendant


                                                    SUSQUEHANNA SALT LAKE, LLC
                                                  ANSWER TO PLAINTIFF'S COMPLAINT

             SUSQUEHANNA SALT LAKE, LLC, (SUSQUEHANNA) answers SEBASTIAN

MADERO, (Plaintiff), and would show the Court as follows:

PART 1. ADMISSIONS AND DENIALS.

RESPONSE TO "I. INTRODUCTION."

1. SUSQUEHANNA states that the allegations in Paragraph I contain argument and legal

             conclusions and not statements of fact. Therefore, no response is required. Such

             allegations that require a response are denied.

 2. SUSQUEHANNA states that the allegations in Paragraph 2 contain argument and legal

             conclusions and not statements of fact. Therefore, no response is required. Such

             allegations that require a response are denied.

 RESPONSE TO "II PARTIES."

3. SUSQUEHANNA admits that the Plaintiff is a natural person. Plaintiff has insufficient

             information to admit or deny the remaining allegations in Paragraph 3.

4. SUSQUEHANNA admits the allegations in Paragraph 4.

RESPONSE TO "III JURISDICTION AND VENUE."



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5. SUSQUEHANNA admits Jurisdiction Paragraph 5.

6. SUSQUEHANNA admits Venue Paragraph 6.

RESPONSE TO "IV FACTUAL ALLEGATIONS                -   A. The inclusion and Discharge of the

Subject Debt in Plaintiff's Bankruptcy Case."

7.       The bankruptcy documents are self-evidence and speak for themselves.

         SUSQUEHANNA is without sufficient information or knowledge to admit the

         remaining allegations.

8.       The bankruptcy documents are self-evidence and speak for themselves.

         SUSQUEHANNA is without sufficient information or knowledge to admit the

         remaining allegations.

9.       SUSQUEHANNA admits that the referenced document purports to be a copy of the

         referenced schedule.

10.      SUSQUEHANNA denies receipt of the 341 Notice by SUSQUEHANNA at

         SUSQUEHANNA offices. The address contained for in the exhibit to the complaint

         is incomplete and would not have arrived at SUSQUEHANNA's offices!

         SUSQUEHANNA denies that at the time in question SUSQUEHANNA had

         knowledge of an automatic stay or of the discharge of Plaintiff. SUSQUEHANNA

         denies that at the time in question SUSQUEHANNA had knowledge of an automatic

         stay or of the discharge of Plaintiff. After a search of the records of

         SUSQUEHANNA's trial court counsel, SUSQUEHANNA trial court counsel has been

         unable to locate any 341 Notice. Therefore, SUSQUEHANNA is unable to admit or

         deny the receipt of the 341 Notice or its content. SUSQUEHANNA has no

         knowledge of whether the mailing of the 341 Notices were returned, and cannot

         admit or deny the allegation.


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11.                The records of the bankruptcy court speak for themselves. SUSQUEHANNA has

                   independent knowledge of the identified Discharge Order and cannot admit or deny

                   the allegations.

12.                SUSQUEHANNA denies receipt of the Discharge Order by SUSQUEHANNA at

                   SUSQUEHANNA offices. After a search of the records of SUSQUEHANNA's trial

                   court counsel, SUSQUEHANNA trial court counsel has been unable to locate any

                   Discharge Order. Therefore, SUSQUEHANNA is unable to admit or deny the receipt

                   of the Discharge Order or its content.

13.                SUSQUEHANNA admits that the referenced document purports to be a copy of the

                   referenced Discharge Order.

14.                SUSQUEHANNA admits that no objection was or dispute was made as to the

                   identified claim.

15.                SUSQUEHANNA admits that it was not a party to any reaffirmation of the identified

                   debt.

16.                SUSQUEHANNA admits that there was no declaration that the identified debt was

                   non-dischargeable.

RESPONSE TO "IV FACTUAL ALLEGATIONS                                                          -   B. During and after the discharge of the

Debt in Plaintiff's Bankruptcy Case, Defendant Attempted to Collect the Debt by

prosecuting Post-Judgement Actions in State Court."

17.                SUSQUEHANNA cannot admit or deny the allegations as to "prohibited debt

                   collection activity' as the activities are not reasonably identified. SUSQUEHANNA

                   admits that it engaged in seeking post judgment relief against the Plaintiff.

18.                SUSQUEHANNA admits that it received the pre-bankruptcy judgment identified in

                   the allegation. After a search of the records of SUSQUEHANNA's trial court

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         counsel, Kimberly Guest, has been unable to locate any email containing a

         Suggestion of Bankruptcy and has insufficient information to admit the allegation.

         Therefore, SUSQUEHANNA is unable to admit or deny the receipt of the Suggestion

         of Bankruptcy. Upon information and no Suggestion of Bankruptcy was filed in the

         trial court, where the post judgment actions were pending.

19.      SUSQUEHANNA trial court counsel has been unable to locate any Suggestion of

         Bankruptcy. Upon a search of the trial online records, no Suggestion of Bankruptcy

         has been located. SUSQUEHANNA is therefore unable to admit or deny whether

         the identified exhibit is a true and correct copy.

20.      SUSQUEHANNA admits the allegation in Paragraph 20. SUSQUEHANNA denies

         that at the time in question SUSQUEHANNA had knowledge of an automatic stay or

         of the discharge of Plaintiff.

21.      SUSQUEHANNA admits the allegation in Paragraph 21. SUSQUEHANNA denies

         that at the time in question SUSQUEHANNA had knowledge of an automatic stay or

         of the discharge of Plaintiff.

22.      SUSQUEHANNA admits the allegation in Paragraph           22.

23.      SUSQUEHANNA admits the allegation in Paragraph 23. SUSQUEHANNA has filed

         a release of the identified Abstract of Judgment. SUSQUEHANNA denies that at

         the time in question SUSQUEHANNA had knowledge of an automatic stay or of the

         discharge of Plaintiff.

24.      SUSQUEHANNA admits the allegation in Paragraph 24. SUSQUEHANNA denies

         that at the time in question SUSQUEHANNA had knowledge of an automatic stay or

         of the discharge of Plaintiff.




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25.                SUSQUEHANNA admits the allegation in Paragraph 25. SUSQUEHANNA denies

                   that at the time in question SUSQUEHANNA had knowledge of an automatic stay or

                   of the discharge of Plaintiff.

26.                SUSQUEHANNA admits the allegation in Paragraph 26. SUSQUEHANNA denies

                   that at the time in question SUSQUEHANNA had knowledge of an automatic stay or

                   of the discharge of Plaintiff.

27.                SUSQUEHANNA admits the allegation in Paragraph 27. SUSQUEHANNA has

                   submitted a motion to the trial court dismissing the Plaintiff from the Turnover

                   Proceedings.

28.                SUSQUEHANNA admits the allegation in Paragraph 28.

29.                SUSQUEHANNA has no knowledge of the specific actions taken by the Receiver.

                   SUSQUEHANNA admits that such action would be a standard practice for many

                   turnover receivers.

30.                SUSQUEHANNA admits that the document purports to be a copy of the referenced

                   document. However, SUSQUEHANNA has no knowledge of the document and

                   cannot admit or deny the allegation.

31.                SUSQUEHANNA admits the allegation in Paragraph 31. SUSQUEHANNA is in the

                   process of preparing a release to be filed of the identified Abstract of Judgment.

32.                SUSQUEHANNA admits the allegation in Paragraph 32.

33.                SUSQUEHANNA admits that the Receiver took some action as to the Plaintiff's

                   financial account or accounts. SUSQUEHANNA has no knowledge of the specific

                   actions taken and cannot admit or deny the specific allegations contained in

                   Paragraph 33.




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34.      SUSQUEHANNA admits that the document purports to be a copy of the referenced

         document. However, SUSQUEHANNA has no knowledge of the document and

         cannot admit or deny the allegation as to the truth and correctness of the document.

35.      SUSQUEHANNA was not a party to the alleged email sent to the Receiver and

         cannot admit or deny the allegation.

36.      SUSQUEHANNA admits that the document purports to be a copy of the referenced

         document. However, SUSQUEHANNA has no knowledge of the document and

         cannot admit or deny the allegation as to the truth and correctness of the document.

RESPONSE TO "V GROUNDS FOR RELIEF Count 1. Invasion of Privacy."
                                                -




37.      SUSQUEHANNA adopts and incorporates its responses in the previous paragraphs

         as set out above as though fully set forth herein.

38.      The allegations set out in Paragraph 38 are not factual allegations, but conclusions

         of law and agreement. Therefore, no admission or denial is required. If a response

         is required, SUSQUEHANNA denies the allegations.

39.      The allegations set out in Paragraph 39 are not factual allegations, but conclusions

         of law and agreement. Therefore, no admission or denial is required. If a response

         is required, SUSQUEHANNA denies the allegations.

RESPONSE TO "V GROUNDS FOR RELIEF Counts II & III Violation of Automatic Stay
                                                -              -




and Discharge Injunction."

40.      SUSQUEHANNA adopts and incorporates its responses in the previous paragraphs

         as set out above as though fully set forth herein.

41.      SUSQUEHANNA denies it had actual knowledge of the Plaintiff's bankruptcy and

         Discharge.




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42.                SUSQUEHANNA admits that it took post judgment action to collect the underlying

                   judgment of the Defendant.

43.                SUSQUEHANNA admits that it took post judgment action to collect the underlying

                   judgment of the Defendant, after the filing of Plaintiff's bankruptcy action and

                   discharge. SUSQUEHANNA denies actual knowledge of the bankruptcy action and

                   discharge. SUSQUEHANNA denies that its actions constituted harassment.

                   SUSQUEHANNA denies that its actions were intended to coerce Plaintiff into paying

                   a known discharged debt. SUSQUEHANNA denies any intent to violate federal law;

                   an automatic stay or a discharge injunction.

44.                SUSQUEHANNA denies that its actions constitute actionable harassment, coercion

                   or a knowing or intentional violation of an automatic stay or discharge injunction.

45.                SUSQUEHANNA denies that it knowing or willingly violated the orders or injunctions

                   of the Bankruptcy Court. The remainder of the allegations in Paragraph 45 contain

                   arguments and legal conclusions and not statements of fact. Therefore, no

                   response is required. Such allegations that require a response are denied.

 46.               SUSQUEHANNA admits that due to its lack of knowledge of the bankruptcy

                   proceedings it inadvertently violated the automatic stay and discharge order.

                   However, SUSQUEHANNA has ceased any collection efforts and has begun actions

                   to correct or undo any actions taken.

47.                SUSQUEHANNA denies that its conduct was in "blatant" disregard of the discharge

                   injunction. The remainder of the allegations inn Paragraph 47 contain argument and

                   legal conclusions and not statements of fact. Therefore, no response is required.

                   Such allegations that require a response are denied.




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48.      SUSQUEHANNA admits that there are no known waivers of orders or injunction in

         the bankruptcy case. The remainder of the allegations in Paragraph 48 contain

         argument and legal conclusions and not statements of fact. Therefore, no response

         is required. Such allegations that require a response are denied.

49.      The allegations in Paragraph 49 contain argument and legal conclusions and not

         statements of fact. Therefore, no response is required. Such allegations that

         require a response are denied.

50.      The allegations in Paragraph 50 contain argument and legal conclusions and not

         statements of fact. Therefore, no response is required. Such allegations that require

         a response are denied.

RESPONSE TO "VII. VICARIOUS LIABILITY/RESPONDENT SUPERIOR."

51.      SUSQUEHANNA denies the allegations in Paragraph 51.

52.      SUSQUEHANNA has insufficient information to admit or deny factual allegations

         contained in 52.

53.      SUSQUEHANNA denies that prior to receipt of the complaint in this matter that it

         knew of the automatic stay or Discharge Order. SUSQUEHANNA denies that upon

         realizing that an automatic stay or Discharge Order were in place that it took any

         action for collection or enforcement of the debts subject the automatic stay or

         Discharge Order.

54.      SUSQUEHANNA denies the allegations in Paragraph 54.

55.      SUSQUEHANNA denies the allegations in Paragraph 55.

56.      SUSQUEHANNA denies the allegations in Paragraph 56.

57. SUSQUEHANNA denies the allegations in Paragraph 57

58. SUSQUEHANNA denies the allegations in Paragraph 58.


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PRAYER.

DEFENDANT SUSQUEHANNA SALT LAKE, LLC, prays that after notice and hearing Plaintiff

take nothing by his suit and that SUSQUEHANNA SALT LAKE, LLC be awarded such relief as

to which it may show itself to be entitled.



                                                                                            Respectfully Submitted
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                                                                                            By-/s/Mark C. Snyder
                                                                                            Mark C. Snyder
                                                                                            Texas Bar No. 18818300
                                                                                            Email: Mark @ GuestAndAssociates.com
                                                                                            Attorney for Defendant



                                                        CERTIFICATE OF SERVICE

I do hereby certify that a true and correct copy of the foregoing was served upon all parties and
counsel of record in accordance with the Federal Rules of Civil Procedure through the Court's
ECF filing system.

Dated: August 2, 2021

                                                                              By-/s/Mark C. Snyder
                                                                              Defendant




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